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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


UNITED STATES OF AMERICA,


vs.                                                  CASE NO. 8:93-CR-196-T-17-EAJ


LUCAS LOPEZ
                                      /

                                             ORDER

        This cause comes before the Court on the defendant’s motion to reduce or modify
imposed term of imprisonment (Docket No. 410) and response thereto (Docket No. 416). The
Court finds the response of the government persuasive and incorporates the response herein.
Accordingly, it is.


        ORDERED that defendant’s motion to reduce or modify imposed term of imprisonment
(Docket No. 410) be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 27th day of December,
2007.




Copies furnished to: All Counsel of Record
